          Case 4:21-cr-00311-YGR Document 30 Filed 10/06/21 Page 1 of 1



                                               ORDER/COVER SHEET

TO:            Honorable Nathanael Cousins                            RE:     Valenzuela, Paul
               U.S. Magistrate Judge

FROM:          Sheri Broussard,                                       Docket No.:        5:21-cr-00311-BLF-3
               U.S. Pretrial Services Officer

Date:          September 30, 2021

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

                     Sheri Broussard                                                415-436-7511

              U.S. Pretrial Services Officer                                 TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

  X      I have reviewed the information that you have supplied. I do not believe that this matter requires any
         action by this Court at this time.

         Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
         ____________________ on ____________________ at ____________________.

         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

         I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
         Pretrial Release conditions as indicated below:

         Modification(s)
   X
         A.

         Bail Revoked/Bench Warrant Issued.

         I am returning the signed order and direct that a copy be provided to the Court file and all interested parties
         (AUSA and Defense Counsel).

         Other Instructions:

         _________________________________________________________________________________

         _________________________________________________________________________________

         _________________________________________________________________________________


                                                                October 6, 2021
         JUDICIAL OFFICER                                     DATE
